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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

PAULETTE CRAWFORD                            §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §      CASE NO. _______________
                                             §
CARRINGTON MORTGAGE                          §
SERVICES, LLC,                               §
                                             §
       Defendant,                            §
                                             §

             DEFENDANT CARRINGTON MORTGAGE SERVICES, LLC’S
                          NOTICE OF REMOVAL

     Notice is hereby given that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant

Carrington Mortgage Services, LLC (“Carrington Mortgage”) removes this action from the

District Court of Brazoria County, Texas, to the United States District Court for the Southern

District of Texas, Galveston Division, and as grounds for removal state as follows:

                                 I. STATE COURT ACTION

1.     On March 30, 2022, Paulette Crawford (“Plaintiff”) filed Plaintiff’s Original Petition

(“Petition”) in the District Court of Brazoria County, Texas, initiating Cause No. 117273-CV,

styled Paulette Crawford v. Carrington Mortgage Services, LLC (“State Court Action”).

2.     Plaintiff brought suit related to real property located at 2506 Dawn River Lane, Pearland,

Texas 77081 (“Property”). See Petition pg. 1. Specifically, Plaintiff brought a claim for “No

Notice of Default/No Notice of Acceleration,” Declaratory Judgment, and Temporary and

Permanent Injunction. See id. at p. 3-5.




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3.        With this Notice of Removal, Defendant hereby removes the State Court Action to this

Court on the basis of diversity jurisdiction, as more fully described below.

                              II. PROCEDURAL REQUIREMENTS

4.        This action is properly removed to this Court because the State Court Action is pending

within this district and division. 28 U.S.C. §§ 124(d), 1441(a-b), 1446(a).

5.        This removal is timely because it is being filed “within 30 days after receipt by the

Defendant, through service or otherwise, a copy of the initial pleading setting forth the claim for

relief upon which such action of proceeding is based.” 28 U.S.C. § 1446(b).

6.        Pursuant to 28 U.S.C. § 1446(a), at the time of this removal, Plaintiff is filing an Index of

State Court Records containing a true and correct copy of the entire file from the State Court

Action.

7.        Pursuant to 28 U.S.C. § 1446(d), with the filing of this Notice of Removal, Defendant is

simultaneously (a) serving Plaintiff with a copy of this Notice of Removal and (b) filing a copy of

the Notice of Removal in the District Court of Brazoria County, Texas. A copy of the Notice of

Removal filed in the State Court Action is attached hereto as Exhibit A.1

                                 III. DIVERSITY JURISDICTION

8.        The Court has diversity jurisdiction in this matter. Where complete diversity exists among

parties and the amount in controversy exceeds $75,000.00, an action may be removed to federal

court. 28 U.S.C. §§ 1332(a), 1441(a). Complete diversity exists in this case because Plaintiff is not

a citizen of the same state as Defendant. See Lincoln Prop. Co. v. Roche, 546 U.S. 81, 89 (2005).

As shown below, the amount in controversy requirement is also satisfied.



1
  Defendant has not included Exhibit 1 to the Notice of Removal filed in the State Court Action
because Exhibit 1 is a copy of this Notice of Removal.

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A. Diversity of Citizenship

9.     Plaintiff is domiciled in Texas. See Petition, pg. 2.

10.    Carrington Mortgage Services, LLC is a Delaware limited liability company. The

citizenship of a limited liability company is determined by the citizenship of all its members.

Carrington Mortgage Services, LLC’s members are Carrington Holding Company, LLC and

Carrington Investment Partners, L.P. Carrington Holding Company, LLC is a Delaware limited

liability company, whose sole member is The Carrington Companies, LLC. Carrington Investment

Partners, L.P. is a Delaware limited partnership, whose general partner is Carrington Capital

Management, LLC. Carrington Capital Management, LLC is a Delaware limited liability

company, whose members are Carrington Holding Company, LLC and a natural person. The

natural person is not a citizen of the state of Texas. The Carrington Companies, LLC is a Delaware

limited liability company, whose members are two natural persons who are not citizens of the state

of Texas.

11.    Because Plaintiff is a citizen of Texas and Defendant is not a citizen of Texas, complete

diversity exists among the parties.

B. Amount in controversy

12.    The amount in controversy requirement is also satisfied. Where a defendant can show, by

a preponderance of the evidence, that the amount in controversy is greater than the jurisdictional

amount, removal is proper. See White v. FCI U.S.A., Inc., 319 F.3d 672, 675 (5th Cir. 2003); see

also St. Paul Reins. Co. v. Greenberg, 134 F.3d 1250, 1253 n.13 (5th Cir. 1998) (“The test is

whether it is more likely than not that the amount of the claim will exceed [the jurisdictional

minimum].”). A defendant can meet its burden if it is apparent from the face of the petition that

the claims are likely to exceed $75,000.00 or, alternatively, if the defendant introduces other



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evidence to show that the amount in controversy more likely than not exceeds the $75,000.00

requirement. E.g., Manguno v. Prudential Prop. & Cas. Ins. Co., 276 F.3d 720, 723 (5th Cir.

2002); Greenberg, 134 F.3d at 1253.

13.    “The amount in controversy is determined from the perspective of the plaintiff, and the

proper measure is the benefit to the plaintiff, not the cost to the defendant.” Berry v. Chase Home

Fin., LLC, No. C-09-116, 2009 WL 2868224, at *2 (S.D. Tex. Aug. 27, 2009).

14.    Plaintiff seeks injunctive relief preventing Defendant from foreclosing on the Property. See

Petition. “The amount in controversy, in an action for declaratory or injunctive relief, is the value

of the right to be protected or the extent of the injury to be prevented.” Greenberg, 134 F. 3d at

1252-53 (citing Leininger v. Leininger, 705 F.2d 727, 729 (5th Cir.1983)); see also Allstate Ins.

Co. v. Hilbun, 692 F.Supp. 698, 700 (S.D.Miss.1988) (“In actions for declaratory or injunctive

relief, the amount in controversy is measured by the value of the object of the litigation.”).

15.    If the right to property is at issue, the court will look to the value of the property to

determine whether the minimum amount in controversy amount has been met for jurisdiction.

Nationstar Mortgage LLC v. Knox, 351 Fed. App'x 844, 848 (5th Cir. 2009); Hunt v. Wash. State

Apple Adver. Comm'n, 432 U.S. 333, 347, 97 S.Ct. 2434, 53 L.Ed.2d 383 (1977) (“In actions

seeking declaratory or injunctive relief, it is well established that the amount in controversy is

measured by the value of the object of the litigation.”); Waller v. Prof'l Ins. Corp., 296 F.2d 545,

547–48 (5th Cir.1961) (“[W]hen the validity of a contract or a right to property is called into

question in its entirety, the value of the property controls the amount in controversy.”); see also

Berry v. Chase Home Fin., LLC, No. C-09-116, 2009 WL 2868224, at *3 (S.D. Tex. Aug. 27,

2009) (finding under similar claims that, because “[a]bsent judicial relief, Plaintiff could be




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divested of all right, title, and interest to the Property . . . , the value of the declaratory and

injunctive relief to Plaintiff is . . . the current appraised fair market value of the Property”).

16.     Accordingly, because Plaintiff is seeking injunctive relief and the right to property is at

issue in this case, the amount in controversy is to be determined by the value of the Property. See,

e.g., Knox, 351 Fed. App’x at 848; Turner v. JP Morgan Chase Bank, N.A., No. 3:12-CV-2701-M

(BF), 2013 WL 2896883, at *3 (N.D. Tex. June 13, 2013) (using current market value of property

from the Dallas Central Appraisal District in finding amount in controversy satisfied where

plaintiff sought to prevent foreclosure) (citing Copeland v. U.S. Bank Nat. Ass'n, 485 Fed. App'x

8 (5th Cir.2012)).

17.     According to the Brazoria County Appraisal District, the current value of the property is

$260,340.2 Thus, the value of the Property satisfies the amount in controversy requirement. A true

and correct copy of the 2022 Brazoria County Tax Assessor Office tax balance is attached hereto

as Exhibit B.

18.     Because there is complete diversity between the parties and the amount in controversy of

$260,340 exceeds the $75,000.00 requirement, this Court has jurisdiction pursuant to 28 U.S.C. §

1332 and removal is proper.

19.     The undersigned attorney is lead counsel of record for Defendant.




2
  Defendant does not contend that the appraisal reflected by the Brazoria County Tax Assessor
Office constitutes the most accurate valuation of the Property. Such appraisal is provided only for
the purpose of establishing a base line value to prove that the amount in controversy requirement
is satisfied.

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20.    Counsel of record for Plaintiff in the State Court Action is:

       David M. Medearis
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       1560 W. Bay Area Blvd., Suite 304
       Friendswood, Texas 77546
       dmedearis@medearislaw.com
       Tel: 281-954-6270
       Fax: 281-954-6280
       Attorney for Plaintiff

                               VI. RESERVATION OF RIGHTS

21.    In filing this Notice of Removal, Defendant does not waive, and specifically reserves, any

and all objections as to service, objections to personal jurisdiction, defenses, rights, and motions.

                                         VII. REMOVAL

       WHEREFORE, Defendant Carrington Mortgage removes this action from the District

Court of Brazoria County, Texas, to the United States District Court for the Southern District of

Texas, Galveston Division so that this Court may assume jurisdiction over the case as provided by

law.


                                                  Respectfully submitted,

                                              By: /s/ Jacob Sparks________________
                                                 JACOB SPARKS
                                                 Texas Bar No. 24066126
                                                 Southern District ID No. 2868002

                                                  SPENCER FANE LLP
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                                                  Attorney for Defendant
                                                  Carrington Mortgage Services, LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2022, I served this document on the following parties in

compliance with Rule 5, Federal Rules of Civil Procedure:

       David M. Medearis
       1560 West Bay Area Blvd., Suite 304
       Friendswood, Texas 77546
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       Attorney for Plaintiff


                                     By: /s/ Jacob Sparks
                                         JACOB SPARKS




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